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UNITED STATES DlSTRlCT COURT
SOUTHERN DlSTRlCT OF NEW YORK

 

l\/IERCER HEALTH & BENEFITS LLC,

 

Pl ` t'l`f.
ami ' CaseNo.:
-against-
DECLARATION OF CORY
l\/IATTHEW DlGREGORlO. JOANNE STEED5 LYNN
JADA PRESTON and LOCKTON COl\/IPANIES,

LLC.

Dei`endants.

 

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CORY LYNN, declares pursuant to 28 U.S.C. § 1746 and subject to the penalties of
perjury that the following is true and correct

l. l am a Partner and the Florida Oftice Leader at l\/Iercer Health & Beneiits LLC
("l\/lercer"). ln my capacity as Florida Ot`ficer Leader, l manage l\/lercer’s Fort Lauderdale and
Tampa offices

2. l submit this declaration in support ofDefendants Order to Show Cause seeking a
temporary restraining order, a preliminary injunction and expedited discovery. Except where
otherwise stated, l make this declaration based on my personal knowledge and/or based on
l\/lercer’s books and records

3. l\/lercer is a World leader in the health and benefits marketplace lt provides clients
vvith a comprehensive array of health and benefits solutions, including managing employee
benefit plans, assisting clients With choosing the right employee benefits plans to tit their needs,
providing access to market experts, and advising on regulatory compliance

4. l have worked for l\/lercer for approximately 19 years. Before I became the

Florida Oflicer Leader in 2014, l Worked as a Principal in l\/lercer’s Tampa office

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Matthew DiGregorio’s Emnlovment With Mercer

5. Matthew DiGregorio (“DiGregorio”) began his employment with l\/lercer as a
Principal/Sales Professional in lanuary 2010.

6. lmmediately prior to joining l\/Iercer, DiGregorio worked at l\/lercer’s affiliated
company, l\/larsh USA lnc, (""l\/larsh”), as an Associate Client Executive with a focus on property
and casualty liability

7. Prior to joining l\Aercer, DiGregorio had limited experienced selling employee
health and benefits solutions of the type that l\/lercer provides

8. /\s a Principal/Sales Professional, DiGregorio was responsible f`or_r among other
tasks, generating new client business and maintaining and growing business with existing clients

9. DiGregorio relied extensively on his Mercer colleagues to develop and grow
client relationships He depended on Principals and Senior Associates to handle day~to-day
service issues for clients, allowing him to focus on client development

lO. Mercer supported DiGregorio’s client-facing role by sponsoring client events,
financing his membership in professional and networking organizations and investing in

marketing and sales tools.y all of which DiGregorio used to form and strengthen client

relations.nps on benalfofl`vlercer.
ll, As a Sales Professional, DeGregorio gained valuable knowledge of l\/lercer"s

clients, including their health and benefits needs and preferences fees and revenues paid to
l\/lercer, amounts paid in insurance premiums, recent losses and other risk factors, and plan terms
and renewal dates. This client confidential information is protected by l\/lercer and not available
to the general public. Based on my experience in the insurance industry, such information about

a specific client would be valuable to a competitor looking to compete for that client’s business

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l2. On or about January 7, 20]0, in connection with his commencement of
employment with l\/lercer, DiGregorio entered into a Non~Solicitation Agreement and a
Confidentiality Agreement, true and correct copies of which are attached as Exhibit A.
JoAnn Steed’s Emplovment With Mercer

l3. JoAnn Steed ("“Steed”) began her employment with l\/Iercer in or around April
2007 as a Principal.

l4. As a Principal at l\/Iercer, Steed was responsible f`or managing client relationships
and ensuring client retention by evaluating client risks and developing solutions to address client
needs. She served as a primary client contact for day-to-day client needs and client questions

l5. Steed directly managed approximately twelve client relationships

lé, Steed relied on financial and internal resources from l\/lerccr to manage client
relationships She developed client relationships by virtue of her employment and with the
support of an experienced team ol"lviercer employees, on whom she relied on to carry out herjob
duties

l'/. l\/Iercer further supported Steed’s client-facing role by financing client related

travel and entertainment expenses sponsoring client events, and investing in marketing and sales

tools, all of which Steed used to manage and strengthen her client relationships on behalf of
l\/lercer
18. On or about April 16, 2007, in connection with her commencement of

employment with i\/lercer, Steed signed a Non-Solicitation Agreement and a Confidentiality

Agreement, true and correct copies of which are attached as Exhibit B.1

 

l Steed signed her Non-Solicitation and Confidentiality Agreements using her maiden name, "`.loAnne Hemmerde.”

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Jada Preston’s Emnlovment With Mercer

19. Jada Preston (“Preston”) began her employment with Mercer in or around
October 2006 as an Enterprise Consulting Analyst.

20. ln that capacity, Preston was responsible for managing client relationships and
ensuring client retention by evaluating client risks and developing solutions to address client
needs

21. Preston served as a client contact f`or day~to~day client needs and client questions

22. She assisted Steed in managing approximately twelve client relationships serving
in essence as Steed`s primary deputy.

23. Like Steed, Preston relied on financial and internal resources from Mercer to
manage client relationships She developed client relationships by virtue of her employment and
with the support of an experienced team of l\/lercer employees on whom she relied on to carry
out her job duties on behalf of Mercer.

24. On or about October 2, 2006, in connection with her commencement of
employment with l\/lercer, Preston entered into a Non-Solicitation Agreement and a
Confidentiality Agreement, true and correct copies of` which are attached as Exhibit C.2
t Resignation of DiGregorio, Steed and Preston

25. On .lanuary l7, 2017, l received separate calls from DiGregorio, Steed Preston,
each within minutes of each other, and each communicating his or her resignation f`rorn
employment

26. Thereaf`ter, l received separate emails from DiGregorio, Steed and Preston, each

within minutes of each other, and each attaching a “Notice of Resignation.” Copies of the emails

 

2 Preston signed her Non~Solicitation and Confidentiality Agreements using her maiden name, “Jada N. Hill."'

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l received on January l'7th at 8:35 a.m., 8:50 a.m. and 9108 a.m. are collectively attached as
Exhibit D.

27. The language in each of the Notices of Resignation is nearly identical lndeed,
each notice begins with the same sentence (“l am writing to let you know that l have decided to
resign from Mercer, effective iininediatel_\,r,”) and each contains the following sentences “l have
performed a thorough, diligent search and have confirmed that l do not have any confidential
l\/lercer information in my possession, electronic or otherwise l am leaving my l\/lercer devices
and all other property of lvlercer in my of`fice."" See Exhibit E, true and correct copies of the
Resignations Notices l received

28. l\/lercer`s employee handbook provides that departing employees should provide
their managers with two weeks’ notice of their resignation date and a written resignation letter
DiGregorio, Steed and Preston, however, resigned abruptly, with no advanced notice.

Breaches of the Non-Sonication Agreements and Confidentiality Agreements by
DiGregorio, Steed and Preston

29. On or about lanuary l9, 20l 8, just two days after their abrupt resignations if not
earlier. DiGregorio, Steed and Preston began soliciting clients with whom they had contact at
Mercer.

30. During the week of January 22, 20l8, a client’s \/ice President for Human
Resources told Joanna Marini, a Principal at l\/lercer that DiGregorio called the prior Friday and
told the Vice President for Human Resources that he resigned his position at l\/lercer and
accepted a position at Lockton.

3l. l\/ls. l\/larini emailed me on January 25, 20l 8, to report the statement made to her

by the client’s Vice President of Human Resources.

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32. Gn January 31, 2018, l\/laggie Novo-Chavarry, another Principal at l\/lercer, met
with the Director of Human Resources for a hotel client that had been serviced by Steed and
Preston during their employment at l\/Iercer. During the meeting the hotel client’s representatives
acknowledged that they met with Steed and Preston, following Steed’s and Preston’s
resignations from l\/lercer, and that Steed and Preston attempted to sell health and benefit
services on behalfof Lockton Companies which were of a type sold and provided by l\/lercer.

33. l\/Is Novo-Chavarry reported the conversation to me that same day.

34. On F`ebrtiai‘y' 7. 20l8, l\/ls. l\/larini received two emails from the Chief Financial
Officer of a nation\.vide steel fabricator, in which the CFO forwarded emails he received from
DiGregorio. l\/ls. l\/larini shared the emails with me.

35. Also on february 7, 2018, Denise Pernice. a Senior Associate at l\/lercer received
a copy of a text message a client received from DiGregorio discussing DiGregorio’s new
position at Lockton.

36. l\/ls. Pernice forwarded a copy ofthe text messages to me.

37. On Februaiy 14, 2018, l\/ls. Pemice met with a law firm client who had been a
client of l\/lercer’s for approximately four years During the meeting a representative for the law
firm clith informed l`vfs. Pernice that the law firm would be soliciting proposals from other
health and benefits solutions providers

38. l\/ls. Pemice subsequently told me about her conversation with the law firm client.

39. On February 15, 20l8, l\/ls. Pernice and l met with the 0wner and the Chief
Financial Officer of a restaurant client which had been serviced by Steed and Preston during
their employment at l\/lercer. During the meeting, the Chief Financial Officer informed us that

the restaurant was considering moving its business to a different vendor He acknowledged that

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he had recently met Steed and Preston, and that he was considering moving his business to
Lockton Companies.

40. On February 22, 20l8, l learned from l\/lelanie Fava, a Principal at l\/lercer, that
Planned Parenthood of South, East and North Florida (“Planned Parenthood"’), a client formerly
serviced by Steed and Preston, terminated its relationship with l\/lercer to engage the services cfa
new vendor

41. l`he following day, l learned from l\/Is. Fava that Planned Parenthood had engaged
Lockton as their new broker ofrecord.

Dated: liebruary 26, 20l 8
”fampa, Florida

grass

Cory Lynn

